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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
UNITED STATES OF AMERICA                                  :
                                                          :   S5 22 Cr. 673 (LAK)
                  v.                                      :
                                                          :
SAMUEL BANKMAN-FRIED,                                     :
                                                          :
                                     Defendant.           :
----------------------------------------------------------x


   DECLARATION OF CHRISTIAN R. EVERDELL IN SUPPORT OF DEFENDANT
  SAMUEL BANKMAN-FRIED’S OPPOSITION TO THE GOVERNMENT’S LETTER
                MOTION FOR AN ORDER OF DETENTION

         I, Christian R. Everdell, an attorney duly admitted to practice before this Court hereby

declare pursuant to 28 U.S.C. § 1746 and Local Criminal Rule 16.1 as follows:

         1.       I am a partner of the law firm Cohen & Gresser LLP, attorneys for Defendant

Samuel Bankman-Fried.

         2.       Attached as Exhibit A are true and correct copies of Signal chats between

Mr. Bankman-Fried and Witness-1 dated November 10, 2022, and November 13, 2022,

respectively.

         3.       Attached as Exhibit B are true and correct copies of emails between

Mr. Bankman-Fried and John Ray, dated November 13, 2022 to December 12, 2022.

         4.       Attached as Exhibit C are true and correct copies of the following documents:

                  a. An email from Mr. Bankman-Fried to Witness-1 dated January 15, 2023,
                     bearing Bates number SDNY_03_00565451;

                  b. A Signal message from Mr. Bankman-Fried to Witness-1, dated January 15,
                     2023, bearing Bates number SDNY_03_00565459; and

                  c. An email from Mr. Bankman-Fried to Andrew Dietderich dated January 15,
                     2023, bearing Bates number SDNY_03_00565458.
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       5.       Attached as Exhibit D is a true and correct copy of a memorandum from Rhonda

Barnwell, President, AFGE Local 2005 to Amy Boncher, Regional Director for the Northeast

Region of the Federal Bureau of Prisons, regarding unsafe working conditions at MDC

Brooklyn, dated June 23, 2023.

       6.       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct, pursuant to 28 U.S.C. § 1746.


Dated: August 1, 2023
       New York, New York

                                                     Respectfully submitted,




                                                      /s/ Christian R. Everdell
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                                                     Attorneys for Samuel Bankman-Fried




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